
356 S.E.2d 790 (1987)
Margie S. SEIFERT
v.
Paul J. SEIFERT.
No. 553A86.
Supreme Court of North Carolina.
June 2, 1987.
Harris, Sweeny &amp; Mitchell and Blackwell, Swaringen &amp; Russ, Fayetteville, for defendant.
McLeod, Senter &amp; Winesette and Reid, Lewis &amp; Deese, Fayetteville, for plaintiff.

ORDER
Upon consideration of the petition filed by Defendant in this matter for rehearing of the decision of this Court pursuant to Rule 31, N.C. Rules of Appellate Procedure, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 2nd day of June 1987."
